          Case 1:23-cr-10159-IT Document 77-10 Filed 07/17/23 Page 1 of 4




                        UNITED STATES DISTRICT COURT

                         DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )
     v.                                      ) CRIMINAL NO. 23-CR-10159
                                             )
JACK DOUGLAS TEIXEIRA                        )

                    DEFENDANT JACK DOUGLAS TEIXEIRA’S
                           DETENTION APPEAL




                                     Exhibit 10

                                   Ring Cameras
Case 1:23-cr-10159-IT Document 77-10 Filed 07/17/23 Page 2 of 4




                                                                  DEFENDANT
                                                                   EXHIBIT


                                                                   10
Case 1:23-cr-10159-IT Document 77-10 Filed 07/17/23 Page 3 of 4
Case 1:23-cr-10159-IT Document 77-10 Filed 07/17/23 Page 4 of 4
